Exhibit

Case 3:23-cv-00340 Document56-5 _ Filed 03/13/24 Page 1 of 4 PagelD #: 729

Case 1:13-cv-00110-JHM-HBB Document 37-2 Filed 12/16/13 Page 5 of 33 PagelD #: 775

Case 1:12-cv-00052-JHM-LLK-" Document 161-1 Filed 04/23/13 Page 1 : -

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} an inst PAA) iB FO Reiais Fi:
C es i 28 2009
TO: . Johnny R. Toles, Jr,

Director, Office of Civil 4 os
Farm Service Agency

FROM: . .D,Leon ns ol
"Chief

Bae? suo grant of Division.

aa :,

Pops" wi was ny?

aa “St wR eae SETTER Complaint BtCore rey Lea
Complaint Number: 08-1401
’ Alvaton, Kentucky

~The Office eof Adjudication j is processing the attached discrimination complaint filed by
_the above refeftenced individual against the Farm Service Agency. Please request
suspension of any foreclosure action that may be pending in this cnse,

tee If You, pENsany questions regarding this request, please contact my office at
ens (208) 70-9396,

es ‘Altachineat Jt

wee PID:inta ce: pI on-stop-toreclosure-FSA

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Case 1:13-cv-00110-JHM-HBB Document 37-2 Filed 12/16/13 Page 6 of 33 PagelD #: 776
Case 1:12-cv-00082-JHM-LLK Document 1¢1-1 Filed 04/23/13 Page 2 of 3 PagelBaee13081
207
USDA Program Complaints Management System
Complaint |

Complaint: 08-1401

Complaint Number * 08-4404
Receipt Method - Facalmile
Postmark Dale

Correspondence Date (from Complainant) 05/01/2008

USDA Recelved Date 05/01/2008"
HUD Decision Date
Number of Days Processed 722
Language Engilsh
Agency FSA
Region
Office:
Complainant Information? Yes
Title Mr.
First Name Corey
Middie Name
Last Name’ Lea
Home Phone
Alt Phone
Email
Comments .
Complainant Name Confirmed? No
https /hasda-pt.entellitrak.com/etk-usda-pr-2,9, 1 -live/tracking. base. print.request.do 4/23/2010

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00110-JHM-HBB Document 37-2 Filed 12/16/13 Page 7 of 33 PagelD
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Case 1:12-cv-00052-JHM-LLK Document 161- ° 5 "é3
. USDA Program Complaints Management System
Document Listing

Complaint: 08-1404 .
Date | Type Keywords Document | Comments [Entree |
2000-05- ~ additional information = 08-1401 BP,PDF "
23 00:00 EMAIL regarding the Loan
. Offceer
2008-08- : Response to 15 Day 08-1401 Response.PDF
04 00:00 Los
2008-07- 16 Day Lelter 08-1401 ack.tif
23 00:00
2008-02. Acceptance Letter : 08-1401acceptance 2/4/09
18 18:44 , 1274.iif
2009-02. Acknowledgement . Added for
18 09:06 Letter workflow
message,
2008-05- Complaint 08-1401,PDF
20 00:00 Correspondence .
2008-08- Other Failure to state a claim Forward for
18 00:00 . . signature-CV
2009-01- Other Additional Information Corey Lea.paf
44:12:14
2009-03- Other Signed Gertlfied Grean Card Corey Lea signed
31 18:55 _ certified green card.doc
2009-05- Othar Resubmitted interrogatories
29 10:06 to Branch Chief .
2008-06- Other Invesilgative Plan Submitted to
01 10:04 . ‘Branch Chief
2009-06- Other Signed ECOA LETTER 08-1404 ECOA. pdf
18 13:25 . .
2009-08- Other Complainant interrogatories 08-1401 paf
06 10:29 :
2008-02- Request for APS 08-1401 req for 2/4/09
18 15:50 aps1270.tif
2009-07- Stop Foreclosure 08-1401 stop Posey,
28 08:36 Merno foreclosure.pdf Daphne
https Wusda-pr.entellitrak.com/etk-usda-pr-2,9, 1 -live/tracking. listChild.print.do 4/23/2010

: : 732
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